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              IN THE UNITED STATES DISTRICT COURT FORILED
                 THE SOUTHERN DISTRICT OF GEORGIA US DISTRICT COURT
                                                  U.S.
                                                     SAVANNAH DIV.
                         SAVANNAH DIVISION
                                                                 AUG 2 I ZOIS
UNITED STATES OF AMERICA

                                         CASE NO.              SO. DIST. OF GA
CHAD FITZGERALD MCCOY,

     Defendant.


                                ORDER

     Before the Court is Defendant Chad Fitzgerald McCoy's

Motion Seeking Sentence Credit Nunc Pro Tunc, in which Defendant

seeks credit against his federal sentence for time he spent in

state custody. (Doc. 773 at 2.) Defendant contends that "both

[the] federal sentencing court and his state court expressed

their desire for concurrent sentences." (Id.) While the Court

recommended that Defendant receive credit against his federal

sentence for all time served since entering into federal custody

on February 4, 2013, Defendant received credit against his state

sentence for that time. Pursuant to 18 U.S.C. § 3585(b), a

defendant does not receive credit against his federal sentence

for time spent in custody where that time was also credited

against another sentence.' As a result, the Bureau of Prisons


  "A defendant shall be given credit toward the service of a term
of imprisonment for any time he has spent in official detention
prior to the date the sentence commences . . . that has not been
credited against another sentence"." 18 U.S.C. § 3585(b)
(emphasis added).
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("SOP") did not honor the Court's recommendation because doing

so would have run contrary to the express statutory language of

§ 3585(b). The Court can only recommend a defendant receive

credit for time spent in federal custody: the SOP ultimately

determines whether a defendant should receive credit. See United

States v. Wilson, 503 U.S. 329 (1992) (holding that BOP

determines credit issues, not district courts); United States v.

Pineyro, 112 F.3d 43, 45 (2d Cir. 1997) (recognizing federal

courts lack authority under § 3585 to order BOP to award

credit). Accordingly, Defendant's motion must be DENIED. 2

     SO ORDERED this /day of August 2015.



                                  WILLIAM T. MOORE,40R.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




2
  In addition, Defendant's Motion for Custody Order (Doc. 631) is
DISMISSED AS MOOT. Defendant is currently in federal custody.

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